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    7
                             UNITED STATES DISTRICT COURT
    8
                            CENTRAL DISTRICT OF CALIFORNIA
    9
                                                    Case No.: 2:17-cv-08360-GW (KSx)
   10
        LESIA ANSON, an individual,
   11                                                SECOND AMENDED
                           Plaintiff,                COMPLAINT FOR:
   12

   13         vs.                                     [1] COPYRIGHT INFRINGEMENT
                                                          (17 U.S.C. §§ 101 ET SEQ.);
   14                                                 [2] CONTRIBUTORY COPYRIGHT
        HARVEY WEINSTEIN, BOB
   15   WEINSTEIN, THE WEINSTEIN                          INFRINGEMENT;
        COMPANY, LLC, a limited                       [3] VICARIOUS COPYRIGHT
   16                                                     INFRINGEMENT;
        liability company; DIMENSION
   17   FILMS, a corporation, MIRAMAX,                [4] VIOLATION OF LANHAM ACT
        LLC, a limited liability company,                 (15 U.S.C. § 1125(a)(1)(B));
   18                                                 [5] VIOLATION OF CALIFORNIA
        LIONSGATE ENTERTAINMENT
   19   CORPORATION,                                      BUS. AND PROF’L CODE
        ENTERTAINMENT ONE LTD., a                         §§ 17200 ET SEQ. and 17500
   20                                                     ET SEQ; and CALIFORNIA
        Canadian corporation, BLUMHOUSE
   21   PRODUCTIONS, LLC, a Delaware                      COMMON LAW UNFAIR
        limited liability company, and DOES               COMPETITION; and
   22                                                 [6] DECLARATORTY RELIEF
        1 through 10, inclusive,
   23                                                     (28 U.S.C. § 2201).
   24
                          Defendants.
                                                      DEMAND FOR JURY TRIAL
   25

   26
              Plaintiff LESIA ANSON (hereinafter, the “Plaintiff”), by and through her
   27
        attorney of record, hereby alleges as follows:
   28

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    1                           JURISDICTION AND VENUE
    2        1.     This is a civil action for copyright infringement and injunctive
    3 relief under the United States Copyright Act, 17 U.S.C. §§ 101 et seq.

    4 (hereinafter, “the Copyright Act”), for unfair competition under the Lanham Act,

    5 15 U.S.C. § 1125(a), for declaratory relief under the Declaratory Judgment Act,

    6 28 U.S.C. § 2201, and related state law claims.

    7        2.     This Court has original subject matter jurisdiction over the claims
    8 set forth in this complaint pursuant to the Copyright Act, 17 U.S.C. § 101 et

    9 seq., 28 U.S.C. §§ 1331, 1332, and 1338(a) and (b), and the Declaratory
   10 Judgment Act, 28 U.S.C.§ 2201.

   11        3.     This Court has supplemental jurisdiction over the related state
   12 claims herein pursuant to 28 U.S.C. § 1367 (a) in that these claims form part of

   13 the same case and controversy as the federal claims herein.

   14        4.     This Court has personal jurisdiction over the defendants in that
   15 defendants are regularly doing business in the State of California and in this

   16 District, and because a substantial portion of the relevant acts complained of

   17 herein occurred in the State of California and in this District.

   18        5.     Venue is proper in the United States District Court for the Central
   19 District of California pursuant to 28 U.S.C. §§ 1391(b) and (c) and 1400(a)

   20 because the wrongful acts that give rise to the claims herein below occurred in

   21 this District and because defendants THE WEINSTEIN COMPANY,

   22 DIMENSION FILMS, MIRAMAX, LLC, LIONSGATE ENTERTAINMENT

   23 CORPORATION, ENTERTAINMENT ONE LTD., and BLUMHOUSE

   24 PRODUCTIONS, LLC (hereinafter collectively, the “Defendants”), have places

   25 of business or maintain offices in this District.

   26                             NATURE OF THE ACTION
   27        6.     Plaintiff LESIA ANSON is the widow and heir of Jay Anson
   28 (hereinafter, the “Author”), author of the best-selling fictional novel The

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    1 Amityville Horror (hereinafter, the “Novel”), and she is the proprietor of the

    2 copyright in the Novel.

    3        7.      Defendants THE WEINSTEIN COMPANY and DIMENSION
    4 FILMS are very tightly controlled by the brothers HARVEY WEINSTEIN and

    5 BOB WEINSTEIN, as was MIRAMAX previously. These are sophisticated

    6 entertainment companies whose core businesses are based on the value,

    7 exploitation and enforcement of copyrights.

    8        8.      This case arises out of Defendants’ unlawful production and recent
    9 release of a theatrical sequel motion picture entitled Amityville: The Awakening
   10 (formerly known as The Amityville Horror: The Lost Tapes) – a work clearly

   11 derived from the Novel, and promoted by Defendants as a sequel to the

   12 successful 1979 and 2005 films, entitled The Amityville Horror, based on the

   13 Novel.

   14        9.      In fact, the WEINSTEINS previously co-financed and co-
   15 distributed The Amityville Horror (2005), and, as such, were intimately familiar

   16 with the Novel and the film franchise it launched. Yet so brazen and unbridled

   17 were the WEINSTEINS’ desire to hijack the Novel and franchise that they never

   18 even attempted to license from Plaintiff the requisite underlying rights, a license

   19 they could well have afforded. To make matters worse, the Amityville Horror

   20 sequel film they illegally produced was of such poor quality, and consequently

   21 performed so miserably at the box office, that it substantially damaged the value

   22 of Plaintiff’s intellectual property. Evidently, HARVEY and BOB WEINSTEIN

   23 believe they are perched above the law, and can willfully misappropriate

   24 another’s property with impunity. As this case will demonstrate, they are

   25 soundly mistaken.

   26                                         PARTIES
   27        10.     Plaintiff LESIA ANSON is an individual and citizen of, and resides
   28 in, the State of Florida, in the County of Alachua, and is and at all times has

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    1 been a citizen of the United States.

    2        11.    Plaintiff is informed and believes and based thereon alleges that
    3 Defendant THE WEINSTEIN COMPANY LLC (hereinafter “TWC”) is a

    4 limited liability company organized and existing under the laws of the State of

    5 Delaware, which has its corporate headquarters in the State of New York, and

    6 which regularly conducts significant ongoing business in the State of California

    7 and in the County of Los Angeles.

    8        12.    Plaintiff is informed and believes and based thereon alleges that
    9 Defendant DIMENSION FILMS (hereinafter “DIMENSION”) is a division of
   10 Defendant TWC, which has its corporate headquarters in the State of New York,

   11 and which regularly conducts significant ongoing business in the State of

   12 California and in the County of Los Angeles, and that DIMENSION is a wholly-

   13 owned division of Defendant TWC.

   14        13.    Plaintiff is informed and believes and based thereon alleges that
   15 Defendant MIRAMAX, LLC (hereinafter “MIRAMAX”) is a limited liability

   16 company organized and existing under the laws of the State of Delaware, which

   17 has its principal place of business in the State of California and in the County of

   18 Los Angeles, and that MIRAMAX was previously owned and controlled by

   19 HARVEY WEINSTEIN and BOB WEINSTEIN.

   20        14.    Plaintiff is informed and believes and based thereon alleges that
   21 Defendant HARVEY WEINSTEIN is an individual and citizen of, and resides in

   22 the State of New York, and is and at all times has been a citizen of the United

   23 States. Plaintiff is further informed and believes and based thereon alleges that

   24 HARVEY WEINSTEIN regularly conducts significant ongoing business in the

   25 State of California and in the County of Los Angeles. Plaintiff is further

   26 informed and believes and based thereon alleges that HARVEY WEINSTEIN is

   27 a founder, principal and co-owner of Defendants TWC and DIMENSION, and

   28 was the founder, and previously, a principal and an owner of Defendant

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    1 MIRAMAX.

    2        15.    Plaintiff is informed and believes and based thereon alleges that
    3 Defendant BOB WEINSTEIN is an individual and citizen of, and resides in the

    4 State of New York, and is and at all times has been a citizen of the United

    5 States. BOB WEINSTEIN is the brother of HARVEY WEINSTEIN, and for

    6 decades, and at all times relevant hereto, was HARVEY WEINSTEIN’S close

    7 business partner. Plaintiff is further informed and believes and based thereon

    8 alleges that BOB WEINSTEIN, like HARVEY WEINSTEIN, regularly

    9 conducts significant ongoing business in the State of California and in the
   10 County of Los Angeles. Plaintiff is further informed and believes and based

   11 thereon alleges that BOB WEINSTEIN is a co-founder, co-principal and co-

   12 owner of Defendants TWC and DIMENSION, and was the co-founder, and

   13 previously, the co-principal and co-owner of Defendant MIRAMAX.

   14        16.    Plaintiff is informed and believes and based thereon alleges that at
   15 all time relevant hereto Defendants HARVEY WEINSTEIN and his brother

   16 BOB WEINSTEIN (hereinafter collectively, the WEINSTEINS) closely owned

   17 and controlled TWC and DIMENSION, and that all significant business and

   18 legal affairs of TWC and DIMENSION, regarding the subject matter of this

   19 action were knowingly made, determined and substantially controlled by the

   20 WEINSTEINS personally.

   21        17.    Plaintiff is informed and believes and based thereon alleges that
   22 Defendants TWC, DIMENSION, HARVEY WEINSTEIN and BOB

   23 WEINSTEIN are, and at all times material hereto were, the alter-egos of each

   24 other and there exists and has existed at all times material hereto a unity of

   25 interest and ownership among such Defendants such that any separateness has

   26 ceased to exist in that Defendants, and/or each of them, used assets of the other

   27 Defendants, and/or each of them, for its and/or their separate, individual

   28 purposes, and caused valuable assets, property, rights and/or interests to be

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    1 transferred to each other without adequate consideration.

    2         18.   Plaintiff is informed and believes and based thereon alleges that at
    3 all times relevant hereto Defendant Lions Gate Entertainment Corporation d.b.a.

    4 Lionsgate (hereinafter, “LIONSGATE”) is an American, Canadian domiciled

    5 company formed in Vancouver, British Columbia, and has its principal place of

    6 business in the State of California and in the County of Los Angeles.

    7         19.   Plaintiff is informed and believes and based thereon alleges that at
    8 all times relevant hereto Defendant Entertainment One Ltd. (hereinafter,

    9 “ENTERTAINMENT ONE”) is an international distributor based in Toronto,
   10 Canada which does ongoing business in the State of California and in the

   11 County of Los Angeles.

   12         20.   Plaintiff is informed and believes and based thereon alleges that at
   13 all times relevant hereto Defendant Blumhouse Productions, LLC (hereinafter,

   14 “BLUMHOUSE”) is a limited liability company organized and existing under

   15 the laws of the State of Delaware, which has its corporate headquarters in the

   16 State of California and in the County of Los Angeles.

   17         21.   Plaintiff is informed and believes and based thereon alleges that the
   18 fictitiously named Defendants captioned hereinabove as Does 1 through 10,

   19 inclusive, and each of them (hereinafter “DOE(S)”) were in some manner

   20 responsible or legally liable for the actions, damages, events, transactions and

   21 circumstances alleged herein. The true names and capacities of such fictitiously

   22 named defendants, whether individual, corporate, associate, or otherwise are

   23 presently unknown to Plaintiff, and Plaintiff will amend this Complaint to assert

   24 the true names and capacities of such fictitiously named Defendants when the

   25 same have been ascertained. For convenience, each reference herein to a named

   26 Defendant or to Defendants shall also refer to the Doe Defendants and each of

   27 them.

   28         22.   Plaintiff is informed and believes and based thereon alleges that

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    1 each of the Defendants was the agent, partner, servant, employee, or employer of

    2 each of the other Defendants herein, and that at all times herein mentioned, each

    3 of the Defendants was acting within the course and scope of such employment,

    4 partnership and/or agency and that each of the Defendants is jointly and

    5 severally responsible for the damages hereinafter alleged.

    6               FACTS COMMON TO ALL CLAIMS FOR RELIEF
    7         23.   Plaintiff LESIA ANSON is the widow and heir of Jay Anson
    8 (hereinafter, the “Author”) the author of the world-famous novel, The

    9 Amityville Horror (hereinafter, the “Novel”). Although marketed as “A True
   10 Story,” the Novel is clearly a work of fiction, replete with fantastic literary

   11 creations (e.g., room(s) which are the sources of evil, ceilings and walls oozing

   12 green slime, plagues of flies in the dead of winter, demonic possessions, people

   13 levitating and floating away, a young woman transformed into a toothless old

   14 hag and then back to her natural state, a child talking to the supernatural spirit

   15 form of an enormous flying pig with red eyes, etc.)

   16         24.   The Novel was registered for copyright on July 29, 1977
   17 (Registration number A00000883095) and was first published on or about

   18 September 13, 1977. The Author died on March 12, 1980. Subsequent to the

   19 Author’s death, the copyright to the Novel was duly renewed by Plaintiff, as the

   20 Author’s widow, on December 23, 2004 (Registration number RE0000925090).

   21 Attached hereto as Exhibit “A” is a true and correct copy of Plaintiff’s renewal

   22 registration certificate from United States Copyright Office for the Novel.

   23         25.   In 1979 a theatrical feature-length motion picture entitled The
   24 Amityville Horror based upon and derived from duly licensed rights in the Novel

   25 (hereinafter, the “1979 Amityville Horror Film”) was produced by Professional

   26 Films, Inc. (“PFI”) and distributed by American International Pictures (“AIP”).

   27         26.   In 2005 a theatrical feature-length motion picture remake, based
   28 upon and derived from the Novel and the 1979 Amityville Horror Film, also

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    1 entitled The Amityville Horror (hereinafter, the “2005 Amityville Horror Film”)

    2 was co-produced, co-financed and co-distributed by Defendant DIMENSION

    3 and MGM (MGM was purportedly the successor to PFI and AIP) (the derivative

    4 1979 Amityville Horror Film and 2005 Amityville Horror Film are hereinafter

    5 collectively, the “Derivative Amityville Horror Films”).

    6        27.    Plaintiff is informed and believes and based thereon alleges that in
    7 or about 2005, DIMENSION was used as a label within MIRAMAX to produce

    8 and release genre films like the 2005 Amityville Horror Film; that in or about

    9 1993, MIRAMAX had been purchased by the Walt Disney Company
   10 (“Disney”), and that the WEINSTEINS continued to operate MIRAMAX until

   11 they left the company on or about September 30, 2005.

   12        28.    Plaintiff is informed and believes and based thereon alleges that
   13 under the terms of the WEINSTEINS’ departure from Disney they took

   14 Defendant DIMENSION with them and made it a wholly-owned division of

   15 Defendant TWC, but that DIMENSION’S interests in all films which it had been

   16 produced or released prior to October 1, 2005, including the 2005 Amityville

   17 Horror Film, remained the property of Defendant MIRAMAX.

   18        29.    Plaintiff is informed and believes and based thereon alleges that on
   19 or about December 3, 2010 MIRAMAX was sold by Disney to Filmyard

   20 Holdings, a joint venture of Colony Capital, Tutor-Saliba Corporation, and the

   21 Qatar Investment Authority; and that on or about March 2, 2016, MIRAMAX

   22 was sold to beIN Media Group, a Qatari entertainment company owned by Al

   23 Jazeera Media Network.

   24        30.    On or about September 27, 2017, Defendants TWC and
   25 DIMENSION announced their release of a feature-length motion picture entitled

   26 Amityville: The Awakening written and directed by Frank Khalfoun (hereinafter,

   27 the “2017 Amityville Horror Sequel Film”). Thereafter, the 2017 Amityville

   28 Horror Sequel Film was streamed on Google Play from October 12 to November

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    1 8, 2017, and released in theatres on October 28, 2017.

    2        31.    Plaintiff is informed and believes and based thereon alleges that the
    3 2017 Amityville Horror Sequel Film was released by Defendant LIONSGATE

    4 in Blu-Ray, DVD and digital HD on or about November 14, 2017.

    5        32.    After its theatrical bow on October 28, 2018, the 2017 Amityville
    6 Horror Sequel Film was widely reported to be “a sequel to the 1979’s The

    7 Amityville Horror”; “a reboot of the classic 1979 original movie ‘The

    8 Amityville Horror’”; “a direct sequel to The Amityville Horror – the 1979 horror

    9 [film]” etc., just as the WEINSTEINS, TWC and DIMENSION had intended
   10 and promoted it, and, on information and belief, none of the Defendants took

   11 any action to correct this intended public impression.

   12        33.    The 2017 Amityville Horror Sequel Film is a cinematic mess and
   13 received dreadful reviews (e.g., a “squashed green tomato” and 20% score on

   14 Rotten Tomatoes).

   15        34.    Plaintiff is informed and believes and based thereon alleges that
   16 Defendants’ botched 2017 Amityville Horror Sequel Film suffered one of the

   17 worst opening weekends of all time, grossing only $742 from 10 theaters or an

   18 average of $74 per theater.

   19        35.    Plaintiff is informed and believes and based thereon alleges that in
   20 or about 2011, DIMENSION and MIRAMAX had entered into a pact to produce

   21 and distribute sequel motion pictures derived from MIRAMAX’S better-known

   22 films, like the 2005 Amityville Horror Film; that the 2017 Amityville Horror

   23 Sequel Film was developed pursuant this and that a prior iteration of this

   24 intended sequel was entitled The Amityville Horror: The Lost Tapes.

   25        36.    Between 2010 and 2013, MIRAMAX entered into a series of
   26 licensing, assignment, collaboration, and financing agreements with TWC,

   27 DIMENSION, and/or the WEINSTEINS including: (i) License Agreement,

   28 dated April 26, 2010; (ii) Amendment to Acquisition Agreement, dated August

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     1 16, 2010; (iii) License Agreement, dated August 31, 2010; (iii) License

     2 Agreement, dated December 1, 2010; (iv) Option, Co-Financing and

     3 Participation Agreement, dated December 3, 2010; (v) Letter Agreement, dated

     4 March 10, 2011; (vi) Extension Letter No. 2, dated June 1, 2012; (vii) Short

     5 Form Option and Amendment No. 1 to Short Form Option, dated December 3,

     6 2010 and June 5, 2012, respectively; (viii) Amendment No. 1 to Option, Co-

     7 Financing and Participation Agreement, dated June 5, 2012; and (ix)

     8 Development Financing and Collaboration Agreement, dated May 10, 2013.

     9 The WENSTEINS were also parties to the December 3, 2010 Option, Co-
    10 Financing and Participation Agreement. In addition, MIRAMAX and TWC

    11 entered into an Agreement Confirmation on or about February 11, 2017.

    12        37.    Plaintiff is informed and believes and based thereon alleges that, by
    13 virtue of MIRAMAX’S agreements with TWC, DIMENSION, and/or the

    14 WEINSTEINS, MIRAMAX participated in the development and production of

    15 the 2017 Amityville Horror Sequel Film, including without limitation by:

    16 licensing or purporting to license to TWC and/or DIMENSION intellectual

    17 property from MIRAMAX’S film catalog, including with respect to the 2005

    18 Amityville Horror Film; and by co-financing, approving, and collaborating with

    19 TWC, DIMENSION, and/or the WEINSTEINS on the development and

    20 production of works derived from the 2005 Amityville Horror Film. Plaintiff is

    21 informed and believes and based thereon alleges that MIRAMAX, through its

    22 agreements with TWC, DIMENSION, and/or the WEINSTEINS, materially

    23 contributed to their infringement of the Novel. Plaintiff is further informed and

    24 believes and based thereon alleges that MIRAMAX’S agreements with TWC,

    25 DIMENSION, and/or the WEINSTEINS provided MIRAMAX with the right

    26 and ability to supervise such Defendants’ development and production of the

    27 2017 Amityville Horror Film, including because such development and

    28 production was done pursuant to a purported license from MIRAMAX to use

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     1 intellectual property purportedly belonging to MIRAMAX. Plaintiff is further

     2 informed and believes and based thereon alleges that MIRAMAX’S agreements

     3 with TWC, DIMENSION, and/or the WEINSTEINS provided MIRAMAX a

     4 financial benefit from the development, production, and distribution thereof,

     5 including in the form of a contingent participation.

     6        38.    Plaintiff is informed and believes and based thereon alleges that
     7 MIRAMAX’S credit as a production company was removed or not included in

     8 the credits of the 2017 Amityville Horror Sequel Film at MIRAMAX’S request.

     9 Notwithstanding the removal or omission of MIRAMAX’S credit from the
    10 film’s credits, Plaintiff is informed and believes and based thereon alleges that

    11 MIRAMAX remained involved in the development and production of the 2017

    12 Amityville Horror Sequel Film through at least February 2017, the date that

    13 MIRAMAX entered into an Agreement Confirmation with TWC. MIRAMAX

    14 is further identified as an uncredited production company of the 2017 Amityville

    15 Horror Sequel Film on the online film and television database IMDB.com.

    16        39.    Plaintiff is informed and believes and based thereon alleges that the
    17 production companies of the 2017 Amityville Horror Sequel Film include

    18 Defendants DIMENSION and MIRAMAX, the same parties -- currently or

    19 previously owned by the WEINSTEINS -- that were involved in the 2005

    20 Amityville Horror Film based upon the Novel, and that the sequel film is

    21 distributed by Defendants TWC and/or DIMENSION.

    22        40.    Defendant BLUMHOUSE is an additional credited production
    23 company of the 2017 Amityville Horror Sequel Film. Plaintiff is informed and

    24 believes that BLUMHOUSE co-produced the 2017 Amityville Horror Sequel

    25 Film in collaboration with the WEINSTEINS, TWC, DIMENSION, and

    26 MIRAMAX and in that capacity participated in the development, production,

    27 marketing, and distribution of the film.

    28        41.    Defendant HARVEY WEINSTEIN has been publicly credited as an

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     1 Executive Producer of the 2017 Amityville Horror Sequel Film. Plaintiff is

     2 informed and believes and based thereon alleges that HARVEY WEINSTEIN,

     3 as Executive Producer of the 2017 Amityville Horror Sequel Film and principal

     4 and control person of TWC / DIMENSION, was actively involved in and

     5 supervised the development, production, and promotion of the 2017 Amityville

     6 Horror Film. It has been publicly reported that HARVEY WEINSTEIN’S credit

     7 was removed from the titles of the 2017 Amityville Horror Film only after news

     8 of sexual assault allegations against HARVEY WEINSTEIN became public in

     9 or about October 2017.
    10        42.    Plaintiff is informed and believes and based thereon alleges that
    11 DIMENSION’S principal BOB WEINSTEIN, having directly participated in the

    12 2005 Amityville Horror Film, announced during the Cannes Film Festival in a

    13 joint press release by TWC and MIRAMAX (the “Cannes Press Release”)

    14 regarding their planned The Amityville Horror sequel film that: “[w]e are

    15 thrilled to return to the mythology of The Amityville Horror with a new and

    16 terrifying vision that will satisfy our existing fans … ,” and that a producer of

    17 the intended The Amityville Horror sequel film employed by DIMENSION

    18 added: “I’m thrilled to be working with Bob to reinvent one of the all-time great

    19 horror franchises … .”

    20        43.    The promotion and advertising of the 2017 Amityville Horror
    21 Sequel Film included, without limitation: (i) the 2011 Cannes Press Release

    22 released by TWC, DIMENSION, BOB WEINSTEIN, and MIRAMAX; (ii)

    23 promotional posters widely distributed in or about 2017 (the “Posters”) by TWC,

    24 DIMENSION and/or LIONSGATE; and (iii) various promotional trailers (the

    25 “Trailer(s)”) widely distributed in or about 2017 by TWC, DIMENSION and/or

    26 LIONSGATE, which likewise infringed and continue to infringe Plaintiff’s

    27 copyright in the Novel. One Trailer conspicuously features: (i) the 1977 Novel

    28 itself, clipped from the 2017 Amityville Horror Sequel Film, with “THE

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     1 AMITYVILLE HORROR by Jay Anson”, prominently displayed on its cover;

     2 (ii) characters referring to the story elements contained in the Novel; (iii) one

     3 character stating, “[M]aybe the evil only latches on every forty years” (i.e, the

     4 Novel was published forty years earlier in 1977); and (iv) another character

     5 stating, “It’s happening again”; all intended to promote and advertise the 2017

     6 Amityville Horror Sequel Film as a continuation of the Amityville Horror brand

     7 and franchise that originated with and was based upon the Novel. At least one

     8 Poster for the 2017 Amityville Horror Sequel Film prominently featured the tag

     9 line, “Every house has a history. This one has a legend,” likewise intended to
    10 promote and advertise the 2017 Amityville Horror Sequel Film as a continuation

    11 of the legendary brand and franchise that originated with the Novel.

    12        44.    Plaintiff is informed and believes and based thereon alleges that
    13 HARVEY WEINSTEIN participated in and supervised the promotion and

    14 advertising of the 2017 Amityville Horror Sequel Film. HARVEY

    15 WEINSTEIN further had an economic incentive to encourage the promotion and

    16 advertising of the 2017 Amityville Horror Film, not only as Executive Producer

    17 and principal and control person of TWC / DIMENSION, but also as a party to

    18 the December 3, 2010 Option, Co-Financing and Participation Agreement

    19 between MIRAMAX and TWC and the June 5, 2012 amendment thereto.

    20        45.    Plaintiff is informed and believes and based thereon alleges that
    21 based on the WEINSTEINS’ and DIMENSION’S press releases, promotion and

    22 advertising of their new Amityville Horror film, the 2017 Amityville Horror

    23 Sequel Film was widely anticipated and considered to be, both within and

    24 outside the entertainment industry, as a sequel to their 2005 Amityville Horror

    25 Film as specifically intended by the WEINSTEINS and a continuation of the

    26 film franchise derived from the Novel. Plaintiff is further informed and believes

    27 and based thereon alleges that for instance, and without limitation, TWC /

    28 DIMENSION caused their Canadian licensee Defendant ENTERTAINMENT

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     1 ONE to falsely promote the 2017 Amityville Horror Sequel Film as “a revival of

     2 the popular franchise” promulgating misrepresentations by the WEINSTEINS,

     3 TWC and DIMENSION.

     4         46.   Plaintiff is further informed and believes and based thereon alleges
     5 that Defendants TWC, DIMENSION, and/or BLUMHOUSE own the foreign

     6 distribution rights to the 2017 Amityville Horror Sequel Film and intend to

     7 distribute this film in all foreign territories outside the United States, including

     8 through their foreign distributor and licensee Defendant ENTERTAINMENT

     9 ONE, and that they have concluded and/or are in the process of entering into
    10 purported licenses with third parties to do so, including with

    11 ENTERTAINMENT ONE and its sub-licensees.

    12         47.   Plaintiff is informed and believes and thereon alleges that
    13 Defendants DIMENSION, TWC, and BLUMHOUSE intend to exploit ancillary

    14 products (e.g., merchandising and publications) derived from the 2017

    15 Amityville Horror Sequel Film, and thus, the Novel, without Plaintiff’s

    16 permission, and that they have concluded and/or are in the process of entering

    17 into licenses with third parties to do so.

    18         48.   The title of the 2017 Amityville Horror Sequel Film, AMITYILLE-
    19 THE AWAKENING, clearly evokes a sequel motion picture; i.e., the

    20 reawakening of the house, and the supernatural evil forces that reside therein,

    21 depicted in the Novel and Derivative Amityville Horror Films. Plaintiff is

    22 informed and believes that due to Defendants’ press releases and promotion of

    23 the 2017 Amityville Horror Sequel Film, it is and will continue to be perceived

    24 both by members of the entertainment business and the general public as a

    25 legitimate sequel to the Derivative Amityville Horror Films based on the Novel.

    26         49.   The 2017 Amityville Horror Sequel Film, like Defendants’ 2005
    27 Amityville Horror Film is substantially similar to the Novel and contains

    28 substantially similar literary elements to those of the Novel, as further shown

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     1 below. As such, Defendants’ exploitation of their 2017 Amityville Horror

     2 Sequel Film and ancillary rights and products knowingly exploits and infringes

     3 Plaintiff’s copyright in the Novel, including Plaintiff’s motion picture rights in

     4 the Novel, including sequel motion picture rights, merchandising rights in the

     5 Novel, and Plaintiff’s right under copyright to authorize derivative works based

     6 upon the Novel.

     7        50.    Plaintiff is informed and believes and based thereon alleges that
     8 Defendants, having produced, co-financed and co-distributed the 2005

     9 Amityville Horror Film based upon the Novel, were very well acquainted with
    10 the Novel and knew or should have known that their 2017 Amityville Horror

    11 Sequel Film qualified as a derivative work of the Novel, and exploited many of

    12 the Novel’s protected literary elements. Yet at no time prior to producing their

    13 2017 Amityville Horror Sequel Film did Defendants TWC, DIMENSION,

    14 MIRAMAX or BLUMHOUSE contact Plaintiff to license, or even inquire as to

    15 the status of sequel motion picture and ancillary rights to the Novel.

    16        51.    On October 10, 2017, Plaintiff’s counsel sent Defendants a written
    17 cease and desist letter placing Defendants on further written notice of what was

    18 already abundantly clear to them – they lacked the proper chain-of-title and

    19 authority to exploit the 2017 Amityville Horror Sequel Film because they lacked

    20 the requisite rights to the Novel from which their sequel film was obviously

    21 derived. Defendants nonetheless blithely proceeded with their plans to release

    22 and distribute the 2017 Amityville Horror Sequel Film without the underlying

    23 rights to do so.

    24        52.    Defendants clearly had access to the original Novel. In fact, both
    25 their shooting script for the infringing 2017 Amityville Horror Sequel Film and

    26 the film itself includes numerous direct references to the Novel including

    27 characters reviewing the Novel and discussing its contents, as shown in more

    28 detail below.

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     1        53.    The 2017 Amityville Horror Sequel Film makes express references
     2 to the Novel and the Derivative Amityville Horror Films. For instance, as the

     3 lead protagonist watches the 1979 Amityville Horror Film with her school

     4 friends, scenes in that film derived from the Novel are shown. The derivative

     5 2005 Amityville Horror Film is also mentioned and its DVD cover bearing the

     6 title THE AMITYVILLE HORROR is shown. The 2017 Amityville Horror

     7 Sequel Film displays the Novel and its cover, with the title THE AMITYVILLE

     8 HORROR” imposed on the house’s now iconic “face” with half-moon windows,

     9 and the name of the Novel’s sole Author, “Jay Anson,” prominently displayed.
    10              Overwhelming Similarities Between the Novel and the
    11                        2017 Amityville Horror Sequel Film
    12        54.    Numerous elements from Defendants’ 2017 Amityville Horror
    13 Sequel Film, from beginning to end, including without limitation the characters,

    14 relationships, themes, setting, story, plot devices, and the interplay and

    15 sequencing of these elements, are substantially similar to and derived from

    16 original elements in the Novel that are copyright protectable.

    17        55.    Even the most cursory review of the 2017 Amityville Horror Sequel
    18 Film reveals glaring and substantial similarities to the Novel. Set forth below

    19 are some of the more obvious similarities.

    20      The Amityville Horror Novel                 The 2017 Amityville Horror
    21                                                            Sequel Film
    22   A. The title of the Novel is The            The film was originally entitled
    23     Amityville Horror, as was the title       The Amityville Horror: The Lost
    24     of the derivative 1979 film and the       Tapes, and then Amityville: The
    25     title of the derivative 2005 film, in     Awakening; itself suggesting a
    26     which Defendants WEINSTEINS,              derivative sequel to the Novel and
    27     DIMENSION and MIRAMAX all                 the Derivative Amityville Horror
    28     participated.                             Films.

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     1

     2   B. Documentary or forensic framing          Documentary or forensic framing
     3     of the story at the beginning and         of the story at the beginning and
     4     end of the Novel.                         end of the 2017 Amityville Horror
     5                                               Sequel Film.
     6

     7   C. The prologue to the Novel starts         The prologue to the 2017
     8     with documentary-style television         Amityville Horror Sequel Film
     9     news footage describing how, in           consists of documentary-style
    10     November 1974, Ronald DeFeo               television news footage describing
    11     had taken a high-powered rifle and        how, in November 1974, Ronald
    12     methodically shot to death his            DeFeo had taken a high-powered
    13     entire family at 112 Ocean Avenue gun and methodically shot to death
    14     in Amityville, New York                   his entire family at 112 Ocean
    15     (hereinafter the “DeFeo Murders”). Avenue in Amityville, New York.
    16

    17   D. The setting is the same house at         The setting is the same house at
    18     112 Ocean Avenue in Amityville,           112 Ocean Avenue in Amityville.
    19     with the now iconic half-moon             Although the actual house has not
    20     quarter windows that make the             had the iconic half-moon quarter
    21     house look like a face, and when          windows in decades, and the 2017
    22     illuminated at night, like a              Amityville Horror Sequel Film
    23     Halloween “pumpkin face” – The            takes place in the present, its house
    24     Amityville Horror house.                  includes and emphasizes the half-
    25                                               moon windows to capitalize on the
    26                                               Novel, the Derivative Amityville
    27                                               Horror Films and franchise.
    28

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     1   E. The DeFeo Murders led to the             The DeFeo Murders led to the
     2     haunting of The Amityville Horror         haunting of the Amityville Horror
     3     house. The overall story revolves         house. The overall story revolves
     4     around a new family that moves            around a new family that moves
     5     into The Amityville Horror house.         into The Amityville Horror House.
     6     The supernatural demonic forces           The supernatural demonic forces
     7     inhabiting the house terrify its new      inhabiting the house terrify its new
     8     residents, causing them to lose a         residents, causing them to lose a
     9     grip on reality, and to turn on one       grip on reality, and to turn on one
    10     another.                                  another.
    11

    12   F. Thematically, there are dark             Thematically, there are dark
    13     unknowable supernatural forces in         unknowable supernatural forces in
    14     the world, and in particular demons the world, and in particular demons
    15     which historically occupy earthly         which historically occupy earthly
    16     settings and prey on negative             settings and prey on negative
    17     human emotions and frailties.             human emotions and frailties.
    18

    19   G. Thematically, we cannot                  Thematically, we cannot
    20     understand or control the                 understand or control the
    21     supernatural which can readily            supernatural which can readily alter
    22     alter our state of consciousness and our state of consciousness and blur
    23     blur the lines between our                the lines between our subconscious
    24     subconscious and reality.                 and reality.
    25

    26   H. Time is modern and seasonally,           Time is modern and seasonally, it
    27     it is the end of the year.                is the end of the year.
    28

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     1   I. The mood is dark, brewing and            The mood is dark, brewing and
     2     increasingly frightening.                 increasingly frightening.
     3

     4   J. The story begins with a new              The story begins with a new family
     5     family pulling into the driveway          pulling into the driveway of the
     6     of the house at 112 Ocean                 house at 112 Ocean Avenue, and
     7     Avenue, and moving in.                    moving in.
     8

     9   K. On a lamp post at the end of the         The same “High Hopes” sign is
    10     paved driveway is a small sign            later seen stored in the basement of
    11     bearing the name “High Hopes.”            the house (even though it was
    12     This was the actual sign of the           reputedly destroyed after the
    13     DeFeo family (although it was             DeFeo Murders).
    14     reputedly destroyed after the
    15     DeFeo Murders).
    16

    17   L. As the family is moving in, there        As the family is moving in, there
    18     are boxes around and the furniture        are boxes around and the furniture
    19     and personal items are put into           and personal items are put into
    20     place over the course of the story.       place over the course of the story.
    21

    22   M. The biological father is not             The biological father is not present,
    23     present, the biological mother is         the biological mother is present, the
    24     present, the family has three             family has three children, and one
    25     children, and one of these children       of these children is a little girl
    26     is a little girl (“Missy”) who is 5       (“Juliet”) who looks 5 years old,
    27     years old, has blonde hair, and is        has blonde hair, and is portrayed as
    28     portrayed as very sweet, naive and        very sweet, naive and innocent.

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     1     innocent.
     2
         N. The family has a large mangy dog         The family has a large mangy dog
     3
           with a male human name,                   with a male human name,
     4
           uncommon for a pet: “Harry.”              uncommon for a pet: “Larry.”
     5

     6
         O. The mother (“Kathy”) is quite            The mother (“Joan”) was quite
     7
           religious and a devout Christian.         religious and a devout Christian;
     8
                                                     and later she reverts to her faith.
     9
    10
         P. Harry, the dog, is the first to sense Larry, the dog, is the first to sense
    11
           unseen forces. Thereafter,                unseen forces. Thereafter,
    12
           throughout the story, the dog reacts throughout the story, the dog reacts
    13
           to unseen evil by barking,                to unseen evil by barking,
    14
           growling, pawing the ground,              growling, pawing the ground,
    15
           and/or whimpering, surprising             and/or whimpering, surprising
    16
           family members.                           family members.
    17

    18
         Q. Several features of the house are        Several features of the house are
    19
           focused on as notable: the half-          focused on as notable: the half-
    20
           moon quarter windows, the                 moon quarter windows, the
    21
           boathouse outside, and later, the         remains of the boathouse outside,
    22
           secret hidden room in the                 and later, the secret hidden room in
    23
           basement.                                 the basement.
    24

    25
         R. The lead protagonist looks out a         The lead protagonist looks out a
    26
           window wearily and notices that           window wearily and notices that
    27
           the dog is restless at the boathouse. the dog is restless at the boathouse.
    28

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     1

     2   S. The lead protagonist senses that         The lead protagonist exclaims “I
     3     something is very weird about the         have a weird feeling about this
     4     house. Otherworldly whispering is         house.” Otherworldly whispering is
     5     heard in the house.                       heard in the house.
     6

     7   T. There are inexplicable house flies       There are inexplicable house flies
     8     in the winter which soon appear to        in the winter which soon appear to
     9     be the harbinger of a supernatural        be the harbinger of a supernatural
    10     evil force.                               evil force.
    11

    12   U. The house has cold spots and foul        The house has cold spots and foul
    13     smells, sometimes without any             smells, sometimes without any
    14     apparent source.                          apparent source.
    15

    16   V. At night, the lead protagonist feels At night, the lead protagonist feels
    17     the sudden need to wander through the sudden need at night to wander
    18     the house.                                through the house.
    19

    20   W. The lead protagonist does                The lead protagonist does research
    21     research on the DeFeo Murders at          on the DeFeo Murders at school
    22     the library viewing microfiche of         viewing old newspaper accounts
    23     newspaper accounts.                       online.
    24

    25   X. Family members start sleeping            Family members start sleeping
    26     together as they become                   together as they become
    27     increasingly frightened by weird          increasingly frightened by weird
    28     events in the house.                      events in the house.

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     1

     2   Y. As the evil force emerges so does        As the evil force emerges so does a
     3     a threatening black swarm of              threatening black swarm of buzzing
     4     buzzing house flies.                      house flies.
     5

     6   Z. A priest who counsels the family,        A doctor who counsels the family,
     7     but is set in his ways, makes a           but is set in his ways, makes a
     8     professional visit to the house and       professional visit to the house and
     9     is challenged by the evil                 is challenged by the evil
    10     supernatural force. Terrified, he         supernatural force. Terrified, he
    11     abruptly departs the house, without abruptly departs the house, without
    12     an explanation to the family, never       an explanation to the family, never
    13     to return.                                to return.
    14

    15   AA. The lead protagonist wakes up           The lead protagonist wakes up
    16     regularly at 3:15 a.m. (the time we       regularly at 3:15 a.m. (the time we
    17     are told the DeFeo Murders took           are told the DeFeo Murders took
    18     place), followed by mysterious,           place), followed by mysterious,
    19     unexplainable and often very              unexplainable and often very
    20     frightening visions and events.           frightening visions and events.
    21

    22   BB. 3:15 a.m. is when the house             We are told “3:15 a.m., that’s when
    23     supernaturally comes alive.               the house comes alive.”
    24

    25   CC. In the middle of the night the          In the middle of the night the lead
    26     lead protagonist is repeatedly            protagonist is repeatedly awakened,
    27     awakened, seemingly driven into a         seemingly driven into a state of
    28     state of altered consciousness by a       altered consciousness by a

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     1     supernatural evil force, unable to       supernatural evil force, unable to
     2     distinguish reality from                 distinguish reality from
     3     nightmares; and as the story             nightmares; and as the story
     4     unfolds, the line becomes                unfolds, the line becomes
     5     progressively blurred.                   progressively blurred.
     6

     7   DD. Windows and doors of the house Windows and doors of the house
     8     open, slam shut, and lock all on         open, slam shut, and lock all on
     9     their own. The opening windows           their own. The opening windows
    10     startle and chill family members,        startle and chill family members,
    11     letting in the cold winter air.          letting in the cold winter air. Door
    12      Door openings portend the arrival       openings portend the arrival of
    13     of supernatural evil forces and          supernatural evil forces and doors
    14     doors and windows slamming shut          and windows slamming shut and
    15     and locking prevent family               locking prevent family members
    16     members from escaping.                   from escaping.
    17

    18   EE. The mother is increasingly on          The mother is increasingly on edge,
    19     edge, and quick to lose her temper       and quick to lose her temper and
    20     and level accusations at her             level accusations at her child Belle.
    21     children.
    22

    23   FF. The mother, angered, violently         The mother angered hits her
    24     beats her children, seemingly for        daughter Belle, seemingly for the
    25     the first time, and the following        first time, and the following day
    26     day expresses guilt and regret           expresses guilt and regret about it.
    27     about it. The mother’s mental state Later, as the mother’s mental state
    28     deteriorates under the influence of      deteriorates under the influence of

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     1     supernatural forces.                      supernatural forces, she knocks her
     2                                               daughter unconscious.
     3

     4   GG. The lead protagonist is drawn to        Juliet is drawn to the remains of the
     5     the boathouse; sees an ominous            boathouse, and when she wanders
     6     shadow lurking there and is driven        there she is confronted by the
     7     to repeatedly check the boathouse         vision of a dead body floating in
     8     at night.                                 the water.
     9   HH. Harry, the dog, has a particular        Harry, the dog, has a particular
    10     interest in the boathouse, sensing        interest in the boathouse, sensing
    11     unseen evil forces there. Later at        unseen evil forces there. Later at
    12     the boathouse the dog panics and          the boathouse deck the dog is
    13     strangles itself after jumping a          found dead and bloody, floating in
    14     fence on a leash.                         the water.
    15

    16   II. Kathy is on the first floor and         Belle is on the first floor and senses
    17     senses someone is staring at her,         a presence, she jumps when she
    18     she looks up, suddenly sees the           suddenly sees the little girl Juliet
    19     little girl Missy and she exclaims:       and she exclaims: “Juliet you can’t
    20     “Missy! You scared me half to             sneak up on people like that. What
    21     death. What’s the matter? What are are you doing up.”
    22     you doing up so early?”
    23

    24   JJ. The innocent Missy repeatedly has The innocent Juliet repeatedly has
    25     private friendly chit-chats with the      private friendly chit-chats with the
    26     supernatural being which has taken supernatural being which has taken
    27     a form she is comfortable with.           a form she is comfortable with.
    28     Missy views this as completely            Juliet views this as completely

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     1     normal, however, it is portrayed as      normal, however, it is portrayed as
     2     an infiltration and a threat to          an infiltration and a threat to
     3     Missy’s safety.                          Juliet’s safety.
     4

     5   KK. At night, Kathy has visions            At night, Belle has visions
     6     of impending violence and murder. of impending violence and murder.
     7

     8   LL. Kathy sees a nightmare image of        Belle sees a nightmare image of
     9     DeFeo.                                   DeFeo.
    10

    11   MM. Kathy is confronted by the             Belle is confronted by the fleeting
    12     fleeting but terrifying image of a       but terrifying image of a
    13     supernatural demonic being.              supernatural demonic being.
    14

    15   NN. Repeated references to the “evil” Belle exclaims “this house is evil”
    16     that grips the house. A house            and elsewhere “this house is really
    17     visitor exclaims: “There’s               bad”!
    18     something bad in here, Kathy.”
    19

    20   OO. We are informed that the house         We are informed that the house
    21     was associated with occult rituals.      was associated with occult ritual.
    22

    23   PP. The mother enters a walk-in            The little girl Juliet enters a walk-in
    24     closet, is suddenly confronted by a      closet and is suddenly confronted
    25     sour smell and the fact the crucifix     by a supernatural demonic being.
    26     she had hung is now upside down
    27     due to some demonic force.
    28

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     1   QQ. The mother is both                      The mother is both psychologically
     2     psychologically and physically            and physically seduced in an illicit
     3     seduced in an illicit fashion by the      fashion by the supernatural evil
     4     supernatural evil entity.                 entity.
     5

     6   RR. Walls in the house suddenly and         Walls in the house suddenly and
     7     inexplicably ooze thick green             inexplicably ooze thick dark red
     8     slime.                                    blood. See also Trailer.
     9   SS. As supernatural tensions increase,      As supernatural tensions increase,
    10     the lead protagonist is jarred by the the lead protagonist is jarred by the
    11     clap of thunder, as a terrible flash      clap of thunder, as a terrible flash
    12     of lightening outside lights up the       of lightening outside lights up the
    13     bedroom window.                           bedroom window.
    14

    15   TT. Family members see terrifying           Belle’s friend says that the house
    16     images at night and have trouble          “messes with your head until
    17     distinguishing their dreams from          you’re unable to tell the difference
    18     reality. The lead protagonist             between dreams and reality.”
    19     exclaims: “I wasn’t dreaming I tell
    20     you!”
    21

    22   UU. As supernatural tensions                As supernatural tensions increase it
    23     increase it starts to rain very           starts to rain very heavily.
    24     heavily.
    25

    26   VV. Kathy in her bedroom is afraid          Belle in her bedroom suddenly sees
    27     that if she looks up into the mirror      the terrifying image of a
    28     she will see the supernatural evil        supernatural demonic being in the

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     1     being whose presence she senses.         mirror.
     2

     3   WW. A supernatural voice shouts            A family member, possessed by a
     4       “GET OUT!”                             supernatural force, spells out on a
     5                                              special monitor: “G E T O U T”!
     6

     7   XX. Kathy’s face is shockingly             In a Trailer for the 2017 Amityville
     8     transformed into a frighteningly         Horror Sequel Film, Belle sees
     9     withered 90-year old; when she           herself in a bathroom mirror, her
    10     runs to the bathroom mirror she is       face shockingly transformed into a
    11     no longer a crone, but has deep          frightening visage with hollow eye
    12     ugly lines running down her              sockets, as black flies buzz around
    13     cheeks.                                  her.
    14

    15   YY. A spirit with a large demonic          A large demonic pig’s head with
    16     pig’s head and beady red eyes            beady red eyes appears outside a
    17     appears outside a window of the          window, scaring Belle. It turns out
    18     house, scaring Kathy.                    to be Belle’s friend wearing a
    19                                              mask, in reference to the scene in
    20                                              the Novel.
    21

    22   ZZ. In the 1979 Amityville Horror          The lead protagonist and her school
    23     Film based on the Novel, the lead        friends watch this 1979 film scene
    24     protagonist breaks through a brick       on television, and later the lead
    25     wall in the basement with a pick         protagonist breaks through a brick
    26     axe, revealing the hidden “Red           wall in the basement with a pick
    27     Room.”                                   axe, revealing the hidden “Red
    28                                              Room.”

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     1

     2   AAA. We are informed that in pre-          Belle views the 1979 Amityville
     3     colonial times Shinnecok Indians         Horror Film which informs her and
     4     left the sick and mad to die on the      us that “this house is built on
     5     property; that they believed it to be sacred ground, devil worship,
     6     infested with demons; and that in        demons …”
     7     the late 1600’s a devil worshipper
     8     from Salem, Mass. practiced
     9     witchcraft and was buried on the
    10     property.
    11

    12   BBB. Unseen supernatural forces in         Unseen supernatural forces in the
    13     the house appear to cause                house appear to cause electronic
    14     electronic equipment to suddenly         equipment to suddenly stop
    15     stop working.                            working.
    16

    17   CCC. As the lead protagonist conveys As the lead protagonist receives
    18     and receives information over the        information from a DVD player /
    19     phone regarding the strange              television as to the strange
    20     activities in the house, the phone       activities in the house both
    21     suddenly goes dead.                      suddenly go dead.
    22

    23   DDD. The potential sudden blowing          The potential sudden blowing of a
    24     of a fuse causes the lead                fuse causes the lead protagonist to
    25     protagonist to venture in the dark,      venture in the dark, with an iphone
    26     with a flashlight, down steps into       flashlight, down steps into the
    27     the basement to check the house’s        basement to check the house’s fuse
    28     fuse box, and is confronted by an        box, and is confronted by an awful

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     1     awful stench.                            stench.
     2

     3   EEE. In the basement, the lead             In the basement, the lead
     4     protagonist sees the fleeting            protagonist sees the fleeting
     5     bearded visage of the murderer           bearded visage of the murderer
     6     Ron DeFeo!                               Ron DeFeo!
     7

     8   FFF. The basement of the house             The basement of the house contains
     9     contains a small hidden room with        a small hidden room with red walls
    10     red walls which is called the “Red       which is called the “Red Room,”
    11     Room,” and it is said to be the          and it is said to be the source of
    12     source of evil in the house.             evil in the house.
    13

    14   GGG. The Novel contains floor plans Belle is given a copy of the Novel,
    15     of the house, one showing the            which she leafs through and turns
    16     basement and location of the             to the floor plan showing the
    17     hidden “Red Room.”                       basement and location of the
    18                                              hidden “Red Room.” Later, she
    19                                              holds a copy of this floor plan.
    20

    21   HHH. The “Red Room” lies behind            The “Red Room” lies behind wood
    22     wood paneling; the lead                  paneling and when the lead
    23     protagonist tears off the wood and       protagonist tears off the wood, she
    24     peers inside, revealing a small          faces the brick wall. After breaking
    25     creepy room with red walls, and          through the wall she peers inside,
    26     the room emits a vile stench. It is      revealing a small creepy room with
    27     noted “[t]hat’s how blood smells.”       walls covered in red blood, and the
    28     The lead later exclaims that he will room emits a vile stench.

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     1     wall off the Red Room’s entrance
     2     with bricks!
     3

     4   III. In the middle of the night a           In the middle of the night a
     5     shadowy figure approaches a               shadowy figure approaches Belle’s
     6     child’s bed as the child sleeps.          bed as she sleeps.
     7

     8   JJJ. The family tries to flee the house, Belle and Juliet try to flee the
     9     but supernatural forces prevent           house but supernatural forces
    10     them from leaving. The lead               prevent them from leaving. Belle
    11     protagonist exclaims: “It [the            exclaims: “It [the house”] won’t let
    12     house] won’t let us go.”                  us leave!” See also Trailer.
    13

    14   KKK. Towards the end of the story,          Towards the end of the story, the
    15     the mother Kathy has a crucifix           mother Joan has a crucifix with
    16     with which she unsuccessfully tries which she unsuccessfully tries to
    17     to banish the evil force.                 banish the evil force.
    18

    19   LLL. The DeFeo Murders are                  Joan, the mother, is shot at close
    20     portrayed as potentially linked to        range and killed by her son, who
    21     an unidentified supernatural force.       has been possessed by a
    22     Kathy has a nightmare of DeFeo            supernatural evil force.
    23     shooting at close range and killing
    24     his mother (not the other family
    25     members he shot).
    26

    27   MMM. The new family that moved              What is left of the new family that
    28     into the house is so terrorized that      moved into the house are so

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     1      they flee, leaving everything            terrorized that they flee, leaving
     2      behind.                                  everything behind.
     3

     4   NNN. The Novel ends with a                  The 2017 Amityville Horror Sequel
     5      documentary-style epilogue               Film ends with documentary news
     6      regarding the strange events that        footage regarding the strange
     7      have befallen 112 Ocean Avenue,          events which have once again
     8      Amityville, New York.                    befallen 112 Ocean Avenue,
     9                                               Amityville, New York.
    10        56.     The 2017 Amityville Horror Sequel Film makes direct references to
    11 the Novel and the Derivative Amityville Horror Films. For instance, as the lead

    12 protagonist watches the 1979 Amityville Horror Film with her school friends,

    13 and scenes in that film derived from the Novel are shown. The 2005 Amityville

    14 Horror Film is also mentioned and its DVD cover is shown. The 2017

    15 Amityville Horror Sequel Film similarly displays the Novel and its cover, with

    16 the title “THE AMITYVILLE HORROR” imposed on the house’s now iconic

    17 “face” with half-moon windows, and the name of the Novel’s sole Author, “Jay

    18 Anson,” prominently displayed.

    19        57.     Plaintiff is informed and believes and based thereon alleges that
    20 Defendants will continue to prepare, produce, copy, distribute or exploit, and/or

    21 authorize others to prepare, produce, copy, distribute or exploit the infringing

    22 2017 Amityville Horror Sequel Film and ancillary derivative works which copy

    23 and exploit the Novel in violation of the Copyright Act.

    24        58.     As a direct and proximate result of Defendants’ actions Plaintiff
    25 will suffer imminent and irreparable harm, much of which cannot be reasonably

    26 or adequately measured or compensated in damages.

    27 //

    28 //

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     1                            FIRST CLAIM FOR RELIEF
     2   (Copyright Infringement against all Defendants and DOES 1-10, excluding
     3                              ENTERTAINMENT ONE)
     4        59.    Plaintiff re-alleges and incorporates by reference paragraphs 1
     5 through 58 inclusive, as though fully set forth herein.

     6        60.    The Novel is a wholly original work and copyrightable subject
     7 matter under the laws of the United States.

     8        61.    The Novel was produced and distributed in strict conformity with
     9 the provisions of the Copyright Act and all other laws governing copyright.
    10        62.    The Novel was registered by its author Jay Anson for copyright on
    11 July 29, 1977 under registration number A00000883095, and subsequent to the

    12 author’s death on March 12, 1980, such copyright was duly renewed by

    13 Plaintiff, the author’s widow, on December 23, 2004 under registration number

    14 RE0000925090.

    15        63.    By their exploitation and release of the 2017 Amityville Horror
    16 Sequel Film, a motion picture indisputably derived from the Novel, Defendants

    17 knowingly and willfully infringed, and will continue to infringe, Plaintiff’s

    18 copyright and rights under copyright in the Novel.

    19        64.    Each infringement by Defendants and/or other parties of the Novel
    20 constitutes a separate and distinct act of infringement.

    21        65.    Plaintiff placed Defendants on notice of their infringement, yet
    22 Defendants continue to infringe Plaintiff’s rights under copyright, in willful

    23 disregard of and indifference to Plaintiff’s rights.

    24        66.    As a direct and proximate result of Defendants’ copyright
    25 infringement, Plaintiff has suffered and will continue to suffer severe injuries

    26 and harm, much of which cannot be reasonably or adequately measured or

    27 compensated in money damages if such wrongful conduct is allowed to continue

    28 unabated. The ongoing harm this wrongful conduct will continue to cause

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     1 Plaintiff is both imminent and irreparable. Plaintiff’s injuries and damages

     2 include, but are not limited to loss of customers, diversion of trade, dilution of

     3 goodwill, injury to her business reputation, and the diminution of the value of

     4 her intellectual property.

     5        67.      Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a preliminary
     6 injunction, during the pendency of this action, and to a permanent injunction,

     7 enjoining Defendants, their officers, agents and employees, and all persons

     8 acting in concert with them, from engaging in such further violations of the

     9 Copyright Act.
    10        68.      Plaintiff is further entitled to recover from Defendants the damages,
    11 including pre-judgment interest it sustained and will sustain, and any income,

    12 gains, profits, and advantages obtained by Defendants as a result of their

    13 wrongful acts alleged hereinabove, in an amount which cannot yet be fully

    14 ascertained, but which shall be assessed at the time of trial.

    15        69.      Alternatively, Plaintiff is entitled to the maximum statutory
    16 damages recoverable, or for such other amounts as may be proper, pursuant to

    17 17 U.S.C. § 504.

    18        70.      Plaintiff is further entitled to her attorney’s fees and full costs
    19 pursuant to 17 U.S.C. § 505.

    20                            SECOND CLAIM FOR RELIEF
    21       (Contributory Copyright Infringement against all Defendants and
    22                  DOES 1-10, excluding ENTERTAINMENT ONE)
    23        71.      Plaintiff realleges and incorporates by reference the allegations set
    24 forth above in Paragraphs 1 through 70 inclusive, as though fully set forth

    25 herein.

    26        72.      Plaintiff is informed and believes, and on that basis alleges, that
    27 Defendants induced, caused, or materially contributed to the copyright

    28 infringement by others of the Novel as alleged herein. Plaintiff is informed and

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     1 believes, and on that basis alleges, that Defendants knew or had reason to know

     2 that the conduct of such other parties infringed Plaintiff’s copyright and rights

     3 under copyright.

     4        73.    Each infringement by Defendants and/or other parties of the Novel
     5 constitutes a separate and distinct act of infringement.

     6        74.    As a direct and proximate result of Defendants’ contributory
     7 copyright infringement, Plaintiff has suffered and will continue to suffer severe

     8 injuries and harm, much of which cannot be reasonably or adequately measured

     9 or compensated in money damages if such wrongful conduct is allowed to
    10 continue unabated. The ongoing harm this wrongful conduct will continue to

    11 cause Plaintiff is both imminent and irreparable. Plaintiff’s injuries and damages

    12 include, but are not limited to loss of customers, diversion of trade, dilution of

    13 goodwill, injury to her business reputation, and the diminution of the value of

    14 her intellectual property.

    15        75.    Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a preliminary
    16 injunction, during the pendency of this action, and to a permanent injunction,

    17 enjoining Defendants, their officers, agents and employees, and all persons

    18 acting in concert with them, from engaging in such further violations of the

    19 Copyright Act.

    20        76.    Plaintiff is further entitled to recover from Defendants the damages,
    21 including pre-judgment interest it sustained and will sustain, and any income,

    22 gains, profits, and advantages obtained by Defendants as a result of their

    23 wrongful acts alleged hereinabove, in an amount which cannot yet be fully

    24 ascertained, but which shall be assessed at the time of trial.

    25        77.    Alternatively, Plaintiff is entitled to the maximum statutory
    26 damages recoverable, or for such other amounts as may be proper, pursuant to

    27 17 U.S.C. § 504.

    28        78.    Plaintiff is further entitled to her attorney’s fees and full costs

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     1 pursuant to 17 U.S.C. § 505.

     2                           THIRD CLAIM FOR RELIEF
     3   (Vicarious Copyright Infringement against all Defendants and DOES 1-10,
     4                        excluding ENTERTAINMENT ONE)
     5        79.    Plaintiff re-alleges and incorporates by reference paragraphs 1
     6 through 78 inclusive, as though fully set forth herein.

     7        80.    Plaintiff is informed and believes and thereon alleges that
     8 Defendants, and each of them, if not directly liable for infringement of

     9 Plaintiff’s copyright in the Novel, are vicariously liable for said infringements.
    10 Plaintiff is informed and believes and thereon alleges that Defendants had the

    11 right and ability to supervise the infringing conduct of others, including without

    12 limitation the infringing conduct of co-Defendants and internet users who have

    13 viewed the 2017 Amityville Horror Sequel Film via an online streaming and/or

    14 downloading service.

    15        81.    Plaintiff is informed and believes and thereon alleges that
    16 Defendants possessed a direct financial interest in the infringing conduct of such

    17 other parties.

    18        82.    Each infringement by Defendants and/or other parties of the Novel
    19 constitutes a separate and distinct act of infringement.

    20        83.    As a direct and proximate result of Defendants’ vicarious copyright
    21 infringement, Plaintiff has suffered and will continue to suffer severe injuries

    22 and harm, much of which cannot be reasonably or adequately measured or

    23 compensated in money damages if such wrongful conduct is allowed to continue

    24 unabated. The ongoing harm this wrongful conduct will continue to cause

    25 Plaintiff is both imminent and irreparable. Plaintiff’s injuries and damages

    26 include, but are not limited to loss of customers, diversion of trade, dilution of

    27 goodwill, injury to her business reputation, and the diminution of the value of

    28 her intellectual property.

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     1        84.     Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a preliminary
     2 injunction, during the pendency of this action, and to a permanent injunction,

     3 enjoining Defendants, their officers, agents and employees, and all persons

     4 acting in concert with them, from engaging in such further violations of the

     5 Copyright Act.

     6        85.     Plaintiff is further entitled to recover from Defendants the damages,
     7 including pre-judgment interest it sustained and will sustain, and any income,

     8 gains, profits, and advantages obtained by Defendants as a result of their

     9 wrongful acts alleged hereinabove, in an amount which cannot yet be fully
    10 ascertained, but which shall be assessed at the time of trial.

    11        86.     Alternatively, Plaintiff is entitled to the maximum statutory
    12 damages recoverable, or for such other amounts as may be proper, pursuant to

    13 17 U.S.C. § 504.

    14        87.     Plaintiff is further entitled to her attorney’s fees and full costs
    15 pursuant to 17 U.S.C. § 505.

    16                          FOURTH CLAIM FOR RELIEF
    17              (Violation of the Lanham Act § 15 U.S.C. § 1125(a)(1)(B)
    18                 Against All Defendants and DOES 1-10, excluding
    19                    MIRAMAX and ENTERTAINMENT ONE)
    20        88.     Plaintiff re-alleges and incorporates by reference paragraphs 1
    21 through 58 inclusive, as though fully set forth herein.

    22        89.     This Fourth Claim for Relief is for violation of Section
    23 1125(a)(1)(B) of the Lanham Act, not Section 1125(a)(1)(A). It pertains to

    24 Defendants’ false advertising and false promotion of its 2017 Amityville Horror

    25 Sequel Film (i) as a sequel to their 2005 Amityville Horror Film and to the 1979

    26 Amityville Horror Film and (ii) as a part of this film franchise, and, as such, this

    27 claim is independent of and does not rely upon Plaintiff’s copyright in the Novel

    28 or Defendants’ copyright infringement alleged hereinabove.

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     1        90.    Plaintiff is informed and believes and thereon alleges that
     2 Defendants have misrepresented to their licensees, potential licensees and to

     3 members of the public, in Defendants’ commercial marketing, promotion and

     4 advertising, that the 2017 Amityville Horror Film is a bona fide sequel to their

     5 2005 Amityville Horror Film and to the 1979 Amityville Horror Film and a

     6 continuation of this film franchise, with a willful intention to mislead and

     7 misrepresent the nature, characteristics and qualities of Defendants’ goods,

     8 services or commercial activities.

     9        91.    Plaintiff is informed and believes and thereon alleges that
    10 Defendants used such false claims or misleading descriptions, representations

    11 and wrongful omissions of fact in interstate commerce in order to induce others

    12 to enter into contracts or other forms of business arrangements with Defendants

    13 to exploit the 2017 Amityville Horror Sequel Film and other products derived

    14 therefrom, and to falsely induce consumers to see the film.

    15        92.    Such use of false or misleading descriptions or representations of
    16 fact in interstate commerce is in opposition to the protection of the public

    17 interest.

    18        93.    Defendants’ wrongful conduct has proximately caused and will
    19 continue to cause Plaintiff substantial injury and damage including, without

    20 limitation, loss of customers, dilution of goodwill, injury to her business

    21 reputation, lost profits and diminution of the value of her interests in the Novel,

    22 the Derivative Amityville Horror Films, and related derivative products and

    23 commercial activities. The ongoing harm this wrongful conduct will cause to

    24 Plaintiff is both imminent and irreparable, and the amount of damage sustained

    25 by Plaintiff will be difficult to ascertain if such wrongful conduct is allowed to

    26 continue unabated.

    27        94.    By reason of the foregoing, Defendants have violated and are
    28 continuing to violate the Lanham Act, 15 U.S.C. § 1125(a)(1)(B).

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     1        95.    Plaintiff is entitled to an injunction, during the pendency of this
     2 action, and permanently, restraining Defendants, their officers, agents and

     3 employees, and all persons acting in concert with them from engaging in any

     4 further violations of the Lanham Act.

     5        96.    Plaintiff has no adequate remedy at law with respect to these
     6 ongoing violations of the Lanham Act.

     7        97.    Plaintiff is further entitled to recover from Defendants under 15
     8 U.S.C § 1117(a) up to three times the damages she sustained and will sustain

     9 and any income, gains, profits, and advantages obtained by Defendants as a
    10 result of their wrongful acts and omissions alleged hereinabove, plus reasonable

    11 attorneys’ fees and costs, in an amount which cannot yet be fully ascertained,

    12 but which shall be assessed at the time of trial.

    13                          FIFTH CLAIM FOR RELIEF
    14     (Unfair Competition Under California Business and Professions Code,
    15   §§ 17200 et seq. and California Common Law - Against All Defendants and
    16       DOES 1-10, excluding MIRAMAX and ENTERTAINMENT ONE)
    17        98.    Plaintiff re-alleges and incorporates herein by reference the
    18 allegations set forth in paragraphs 1 through 58, inclusive, and 88 through 97,

    19 inclusive, as though fully set forth herein.

    20        99.    This Fifth Claim for Relief pertains to Defendants’ false
    21 advertising, marketing and promotion of the 2017 Amityville Horror Sequel

    22 Film: (i) as a sequel to their 2005 Amityville Horror Film and to the 1979

    23 Amityville Horror Film and (ii) as a part of this film franchise, and, as such, this

    24 claim is independent of and does not rely upon Plaintiff’s copyright in the Novel

    25 or Defendants’ copyright infringement alleged hereinabove.

    26        100. Plaintiff is informed and believes and thereon alleges that
    27 Defendants have misrepresented to their licensees, potential licensees and to

    28 members of the public, in Defendants’ commercial marketing, promotion and

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     1 advertising, that the 2017 Amityville Horror Film is a bona fide sequel to their

     2 2005 Amityville Horror Film and to the 1979 Amityville Horror Film and a

     3 continuation of this film franchise, with a willful intention to mislead and

     4 misrepresent the nature, characteristics and qualities of Defendants’ goods,

     5 services or commercial activities.

     6         101. Defendants’ public misrepresentations in their advertising,
     7 marketing and promotion was both intended to deceive, cause confusion and

     8 mistake and was likely to deceive, cause confusion and mistake, all contrary to

     9 the public interest.
    10         102. Defendants’ wrongful conduct, acts, and omissions alleged
    11 hereinabove constitute unlawful, unfair business practices and unfair

    12 competition under California Business and Professions Code §§ 17200 et seq.,

    13 and under the common law.

    14         103. As a direct and proximate result of Defendants’ conduct, acts, and
    15 omissions alleged hereinabove, Plaintiff is entitled to restitution of the income,

    16 gains, compensation, profits and advantages obtained, received or to be received

    17 by Defendants, or any of them, arising from their unauthorized exploitation of

    18 Plaintiff’s Novel, and in which Plaintiff possesses an ownership interest;

    19 Plaintiff is entitled to an order requiring Defendants, jointly and severally, to

    20 render an accounting to ascertain the amount of such proceeds.

    21         104. As a direct and proximate result of Defendants’ wrongful conduct,
    22 acts and omissions alleged hereinabove, Plaintiff has been damaged, and

    23 Defendants have been and will continue to be unjustly enriched, in an amount

    24 that shall be assessed at trial for which restitution and/or restitutionary

    25 disgorgement is appropriate. Such restitution and/or restitutionary disgorgement

    26 should include a declaration by this Court that Defendants are jointly and

    27 severally the constructive trustee(s) for the benefit of Plaintiff and an order that

    28 Defendants convey to Plaintiff all of the gross revenues received or to be

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     1 received by Defendants arising from their unauthorized exploitation of

     2 Plaintiff’s Novel.

     3        105. Defendants’ wrongful conduct, acts and omissions have
     4 proximately caused and will continue to cause Plaintiff substantial injury and

     5 damage including, without limitation, loss of customers, dilution of goodwill,

     6 injury to Plaintiff’s reputation, and diminution of the value of Plaintiff’s rights.

     7 The harm this wrongful conduct will cause to Plaintiff is both imminent and

     8 irreparable, and the amount of damage sustained by Plaintiff will be difficult to

     9 ascertain if such wrongful conduct is allowed to continue without restraint.
    10        106. Pursuant to California Business and Professions Code § 17203
    11 Plaintiff is entitled to an injunction, during the pendency of this action, and

    12 permanently enjoining Defendants, their officers, agents and employees, and all

    13 persons acting in concert with them, from engaging in such further acts of unfair

    14 business practices and unfair competition.

    15        107. Plaintiff has no adequate remedy at law with respect to Defendants’
    16 ongoing unlawful conduct.

    17                            SIXTH CLAIM FOR RELIEF
    18                   (Declaratory Relief - Against All Defendants)
    19        108. Plaintiff re-alleges and incorporates herein by this reference
    20 paragraphs 1 through 107 inclusive, as though fully set forth herein.

    21        109. By reason of the foregoing facts, an actual and justiciable
    22 controversy has arisen and now exists between Plaintiff and Defendants

    23 regarding: (i) the validity and enforceability of the foreign distributor Defendant

    24 ENTERTAINMENT ONE’s license(s) and/or agreement(s) with TWC for the

    25 distribution and/or sub-licensing of the 2017 Amityville Horror Sequel Film, and

    26 of ENTERTAINMENT ONE’s sublicenses of the 2017 Amityville Horror

    27 Sequel Film; (ii) whether any Defendant has any rights to make another

    28 derivative work based in whole or in part on the Novel, and/or the 1979

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     1 Amityville Horror Film or 2005 Amityville Horror Film (which were derived

     2 from the Novel); and (iii) whether any Defendant has any right, by virtue of the

     3 2017 Amityville Horror Film, or otherwise, to limit or encumber Plaintiff’s

     4 rights in the Novel.

     5        110. Plaintiff therefore desires a judicial determination that: (i)
     6 Defendants’ license(s) and/or agreement(s) with Defendant ENTERTAINMENT

     7 ONE for the distribution and/or sub-licensing of the 2017 Amityville Horror

     8 Sequel Film, and in turn ENTERTAINMENT ONE’S sub-license(s) of the 2017

     9 Amityville Horror Sequel Film, are void and unenforceable; (ii) no Defendant
    10 has any rights to make another derivative work based in whole or in part on: the

    11 Novel, and/or the 1979 Amityville Horror Film or 2005 Amityville Horror Film

    12 (which were derived from the Novel); and (iii) no Defendant has any right, by

    13 virtue of the 2017 Amityville Horror Film, or otherwise, to limit or encumber

    14 Plaintiff’s rights in the Novel in any respect.

    15        111. A declaration of the Court is necessary and appropriate pursuant to
    16 the Declaratory Judgment Act, 28 U.S.C. §§ 2201 et seq., so that Plaintiff may

    17 ascertain her rights with respect to the 2017 Amityville Horror Sequel Film.

    18                               PRAYER FOR RELIEF
    19        WHEREFORE, Plaintiff prays for judgment against the Defendants as
    20 follows:

    21                        ON THE FIRST CLAIM FOR RELIEF
    22        1.     For an order preliminarily during the pendency of this action and
    23 thereafter, permanently, (i) enjoining Defendants, their officers, agents,

    24 employees, licensees and assigns, and all persons acting in concert with them,

    25 from infringing the copyrights in the Novel, in any manner, and (ii) enjoining

    26 Defendants, their officers, agents, employees, licensees and assigns, and all

    27 persons acting in concert with them, from engaging in or authorizing the

    28 production, reproduction, distribution and/or exploitation of the infringing 2017

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     1 Amityville Horror Sequel Film and ancillary products based thereon, derived

     2 from the Novel, without Plaintiff’s express written consent.

     3        2.     For compensatory and consequential damages, according to proof
     4 in an amount determined at trial, together with interest thereon as provided by

     5 law;

     6        3.     For an accounting and restitution to Plaintiff of all gains, profits and
     7 advantages Defendants have derived from their production, distribution and

     8 exploitation of the infringing 2017 Amityville Horror Sequel Film, ancillary

     9 exploitations based thereon, and from their copyright infringement of the Novel;
    10        4.     In the alternative to actual damages, for statutory damages pursuant
    11 to 17 U.S.C. §504(c), which election Plaintiff shall make prior to the rendering

    12 of final judgment herein; and

    13        5.     For such other and further relief and remedies available under the
    14 Copyright Act, 17 U.S.C. §§ 101 et seq., which the Court may deem just and

    15 proper.

    16                      ON THE SECOND CLAIM FOR RELIEF
    17        6.     For an order preliminarily during the pendency of this action and
    18 thereafter, permanently, (i) enjoining Defendants, their officers, agents,

    19 employees, licensees and assigns, and all persons acting in concert with them,

    20 from infringing the copyrights in the Novel, in any manner, and (ii) enjoining

    21 Defendants, their officers, agents, employees, licensees and assigns, and all

    22 persons acting in concert with them, from engaging in or authorizing the

    23 production, reproduction, distribution and/or exploitation of the infringing 2017

    24 Amityville Horror Sequel Film and ancillary products based thereon, derived

    25 from the Novel, without Plaintiff’s express written consent.

    26        7.     For an award of Defendants’ profits and Plaintiff’s compensatory
    27 and consequential damages, according to proof in an amount determined at trial,

    28 together with interest thereon as provided by law;

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     1        8.     In the alternative to actual damages, for an award of statutory
     2 damages pursuant to 17 U.S.C. §504(c), which election Plaintiff shall make prior

     3 to the rendering of final judgment herein;

     4        9.     For an order requiring that Defendants provide a complete
     5 accounting and for the restitution to Plaintiff of all monies, gains, profits and

     6 advantages Defendants have derived from their production, distribution and

     7 exploitation of the infringing 2017 Amityville Horror Sequel Film and Trailers,

     8 ancillary exploitations based thereon, and from their copyright infringement of

     9 the Novel;
    10        10.    For an order imposing a constructive trust over all monies, gains,
    11 and profits Defendants derive from their production, distribution and

    12 exploitation of the infringing 2017 Amityville Horror Sequel Film and Trailers,

    13 ancillary exploitations based thereon, and from their copyright infringement of

    14 the Novel; and

    15        11.    For such other and further relief and remedies available under the
    16 Copyright Act, 17 U.S.C. §§ 101 et seq., which the Court may deem just and

    17 proper.

    18                       ON THE THIRD CLAIM FOR RELIEF
    19        12.    For an order preliminarily during the pendency of this action and
    20 thereafter, permanently, (i) enjoining Defendants, their officers, agents,

    21 employees, licensees and assigns, and all persons acting in concert with them,

    22 from infringing the copyrights in the Novel, in any manner, and (ii) enjoining

    23 Defendants, their officers, agents, employees, licensees and assigns, and all

    24 persons acting in concert with them, from engaging in or authorizing the

    25 production, reproduction, distribution and/or exploitation of the infringing 2017

    26 Amityville Horror Sequel Film and ancillary products based thereon, derived

    27 from the Novel, without Plaintiff’s express written consent.

    28        13.    For an award of Defendants’ profits and Plaintiff’s compensatory

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     1 and consequential damages, according to proof in an amount determined at trial,

     2 together with interest thereon as provided by law;

     3        14.    In the alternative to actual damages, for an award of statutory
     4 damages pursuant to 17 U.S.C. §504(c), which election Plaintiff shall make prior

     5 to the rendering of final judgment herein;

     6        15.    For an order requiring that Defendants provide a complete
     7 accounting and for the restitution to Plaintiff of all monies, gains, profits and

     8 advantages Defendants have derived from their production, distribution and

     9 exploitation of the infringing 2017 Amityville Horror Sequel Film and Trailers,
    10 ancillary exploitations based thereon, and from their copyright infringement of

    11 the Novel;

    12        16.    For an order imposing a constructive trust over all monies, gains,
    13 and profits Defendants derive from their production, distribution and

    14 exploitation of the infringing 2017 Amityville Horror Sequel Film and Trailers,

    15 ancillary exploitations based thereon, and from their copyright infringement of

    16 the Novel; and

    17        17.    For such other and further relief and remedies available under the
    18 Copyright Act, 17 U.S.C. §§ 101 et seq., which the Court may deem just and

    19 proper.

    20                      ON THE FOURTH CLAIM FOR RELIEF
    21        18.    For an order preliminarily during the pendency of this action and
    22 thereafter permanently enjoining Defendants, their officers, agents, employees,

    23 licensees and assigns and all persons acting in concert with them, from engaging

    24 in such further violations of the Lanham Act, 15 U.S.C. § 1125(a)(1)(B) as

    25 alleged hereinabove;

    26        19.    For treble compensatory and consequential damages according to
    27 proof in an amount to be determined at trial;

    28        20.    For an accounting of any and all unlawful proceeds received and to

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     1 be received by Defendants;

     2        21.    For the imposition of a constructive trust for the benefit of Plaintiff
     3 on any and all unlawful proceeds received and to be received by Defendants;

     4 and

     5        22.    For such other and further relief and remedies available under the
     6 Lanham Act, 15 U.S.C. § 1125, which the Court may deem just and proper.

     7                        ON THE FIFTH CLAIM FOR RELIEF
     8        23.    For an accounting of any and all unlawful proceeds received and to
     9 be received by Defendants;
    10        24.    For the imposition of a constructive trust for the benefit of Plaintiff
    11 on any and all unlawful proceeds received and to be received by Defendants;

    12        25.    For restitution to Plaintiff of any and all unlawful proceeds received
    13 and to be received by Defendants;

    14        26.    For an order preliminarily during the pendency of this action and
    15 thereafter, permanently, enjoining Defendants, their officers, agents, employees,

    16 licensees and assigns, and all persons acting in concert with them, from

    17 engaging in such further unfair business practices and unfair competition under

    18 California Business and Professions Code §§ 17200 et seq., and/or §§17500 et

    19 seq., as alleged hereinabove; and

    20        27.    For such other and further relief and remedies available under
    21 California Business and Professions Code, §§ 17200 et seq. and §§ 17500,

    22 which the Court may deem just and proper.

    23                       ON THE SIXTH CLAIM FOR RELIEF
    24        28.    For a declaration:
    25               a.     That Defendants’ license(s) and/or agreement(s) with
    26 Defendant ENTERTAINMENT ONE for the distribution and/or sub-licensing of

    27 the 2017 Amityville Horror Sequel Film, and in turn ENTERTAINMENT

    28 ONE’S sub-license(s) of the 2017 Amityville Horror Sequel Film, are void and

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     1 unenforceable;

     2                b.     That no Defendant has any rights to make another derivative
     3 work based in whole or in part on the Novel and/or the 1979 Amityville Horror

     4 Film or 2005 Amityville Horror Film (which were derived from the Novel);

     5                c.     That no Defendant has any right, by virtue of the 2017
     6 Amityville Horror Film, or otherwise, to limit or encumber Plaintiff’s rights in

     7 the Novel in any respect.

     8        29.     For an order preliminarily during the pendency of this action and
     9 thereafter, permanently, enjoining Defendants, their officers, agents, employees,
    10 licensees and assigns, and all persons acting in concert with them, from:

    11                a.     Developing, producing or distributing another derivative
    12 work based in whole or in part on the Novel and/or the 1979 Amityville Horror

    13 Film and/or the 2005 Amityville Horror Film;

    14                b.     Limiting or encumbering, or purporting to limit or encumber,
    15 Plaintiff’s rights in the Novel in any respect, by virtue of the 2017 Amityville

    16 Horror Film or otherwise.

    17                           ON ALL CLAIMS FOR RELIEF
    18        30.     For Plaintiff’s costs of suit;
    19        31.     For interest at the highest lawful rate on all sums awarded Plaintiff
    20 other than punitive damages;

    21        32.     For reasonable attorneys’ fees; and
    22        33.     For such other and further relief as the Court deems just and
    23 appropriate.

    24

    25 Dated: November 15, 2017              TOBEROFF & ASSOCIATES, P.C.
    26                                       By: ____/s/ Marc Toberoff_______________
                                                         Marc Toberoff
    27
                                             Attorneys for Plaintiff LESIA ANSON
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     1                             JURY TRIAL DEMANDED
     2        Plaintiff hereby requests a trial by jury on each claim for relief alleged in
     3 the Complaint that is triable by a jury.

     4

     5   Dated: November 15, 2017           TOBEROFF & ASSOCIATES, P.C.
     6
                                             By: ____/s/ Marc Toberoff_______________
     7                                                   Marc Toberoff
     8                                       Attorneys for Plaintiff LESIA ANSON
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